Case 6:11-cv-00824-ACC-DAB Document 163 Filed 01/03/14 Page 1 of 2 PageID 8612




                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

 FRANCIS R. CARTER, JR. ,

                       Plaintiff,

 v.                                                           Case No: 6:11-cv-824-Orl-22DAB

 CITY OF MELBOURNE, DONALD L.
 CAREY and JACK M.
 SCHLUCKEBIER,

                       Defendants.


                                              ORDER

        This cause is before the Court on Defendant Donald L. Carey's Renewed Motion for

 Attorney’s Fees (Doc. No. 158) and on Defendant City of Melbourne's Renewed Motion for

 Entitlement to Partial Award of Attorney's Fees (Doc. No. 159).

        The United States Magistrate Judge has submitted a report recommending that the

 Motions be DENIED.

        After an independent de novo review of the record in this matter, and noting that no

 objections were timely filed, the Court agrees entirely with the findings of fact and conclusions

 of law in the Report and Recommendation.

        Therefore, it is ORDERED as follows:

        1.      The Report and Recommendation filed December 19, 2013 (Doc. No. 162), is

 ADOPTED and CONFIRMED and made a part of this Order.

        2.      The Defendant Donald L. Carey's Renewed Motion for Attorney’s Fees (Doc. No.

 158) and Defendant City of Melbourne's Renewed Motion for Entitlement to Partial Award of

 Attorney's Fees (Doc. No. 159) are hereby DENIED.
Case 6:11-cv-00824-ACC-DAB Document 163 Filed 01/03/14 Page 2 of 2 PageID 8613




        DONE and ORDERED in Orlando, Florida on January 3, 2014.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




                                          -2-
